Case 2:11-cr-20129-RHC-EAS ECF No. 1313, PageID.15808 Filed 04/14/15 Page 1 of 2




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                           Plaintiff,

 vs.                                           Case No. 11-20129

 TONY KITCHENS,
                           Defendant.


            ORDER CANCELLING TELEPHONE CONFERENCE
       Pretrial Services Officer Thomas Nugent today provided a report from the

 Northern District of Alabama, per Pretrial Services Officer Mark Stuart, informing

 the court of the following:

       I conducted a home inspection at Kitchens' residence on 04/09/2015 and
       thought I had notified you.

       Kitchens was home alone and in his wheel chair. He looked pretty good but
       stated he still has a hard time getting around. He reports that he still can not
       use his artificial leg comfortably. He advised that he has an upcoming
       appointment with a heart specialist due to a blockage. He was instructed to
       provide me with paperwork from the doctor.

       He also reported that he recently met with his psychiatrist and that meeting
       went well. He is not scheduled to return to her until June unless a need arises.

       There has not been any recent developments in the pending case in State
       Court.

       Assuming that the defendant’s medical condition is as described by the
Case 2:11-cr-20129-RHC-EAS ECF No. 1313, PageID.15809 Filed 04/14/15 Page 2 of 2




 Alabama Pretrial Services Officer, the court does not perceive a need to further

 consider defendant’s bond status at this time. No need for a status conference is

 apparent at this time.

       If the parties have business, bond status or other, to discuss with the court,

 they should briefly advise the court’s case manager, and file a written status report.

       IT IS ORDERED that the April 16, 2015 status conference is CANCELLED.



                                         S/Robert H. Cleland
                                        ROBERT H. CLELAND
                                        UNITED STATES DISTRICT JUDGE


 Dated: April 14, 2015


 I hereby certify that a copy of the foregoing document was mailed to counsel of
 record and/or pro se parties on this date April 14, 2015 by electronic and/or ordinary
 mail.


                                          S/Lisa Wagner
                                        Case Manager and Deputy Clerk
                                        (313) 234-5522
